4:05-cr-03099-RGK-DLP          Doc # 113      Filed: 10/11/06      Page 1 of 1 - Page ID # 535




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                            )
                                                     )
                              Plaintiff,             )       4:05CR3099
                                                     )
       v.                                            )       ORDER
                                                     )
MICHAEL C. ELMA,                                     )
                                                     )
                              Defendant.
       NOW ON THIS 11th day of October, this matter comes on before the Court upon the United

States’ Motion to Release Money and Memorandum Brief. The Court reviews the Motion and the

court file, and, being duly advised in the premises, finds the Motion should be granted.

       IT THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       1. The Plaintiff’s Motion to Release Money (Filing No. 112) is hereby granted.

       2. The U.S. Marshals Service shall deliver $3,077.00, by check made payable to Michael

C. Elma, to his attorney of record, Sean J. Brennan, 140 North 8th Street, Suite 340, Lincoln,

Nebraska 68508.

       October 11, 2006.                             BY THE COURT:

                                                     s/ Richard G. Kopf
                                                     United States District Judge
